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                       No. 3:18‐CV‐252‐CWR‐FKB

       SECURITIES & EXCHANGE COMMISSION,
                                                           Plaintiff,

                                     v.

       ARTHUR LAMAR ADAMS, et al.,
                                                         Defendants.
                          ____________________

                   ORDER APPROVING FEE APPLICATIONS
                         ____________________

          Before CARLTON W. REEVES, District Judge.
       The Receiver has presented Fee Applications for the work her
       team performed between August 2019 and March 2020. In
       keeping with custom we will call them the eighth through the
       eleventh Fee Applications. No objections have been filed to
       any of these Applications.
       As the Court has stated in previous orders, “[i]n general, a
       reasonable fee is based on all circumstances surrounding the
       receivership.” S.E.C. v. W. L. Moody & Co., 374 F. Supp. 465,
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       480 (S.D. Tex. 1974), affʹd sub nom., 519 F.2d 1087 (5th Cir.
       1975).
       Over this time period, the Receiver and her team filed new
       actions, litigated the ongoing suits, reached settlement agree‐
       ments with defendants and non‐parties, and worked to sell
       the Receivership Estate’s assets, among other activities. Liti‐
       gation (and its commensurate expenses) has slowed as all in‐
       terested parties await the Fifth Circuit’s decision in the Butler
       Snow appeal. The Receiver has completed her merits brief in
       that appeal.
       The Court has reviewed the Applications and their support‐
       ing invoices, provided in camera. Based upon this review and
       all of the circumstances of the Receivership, see id., the Court
       finds that the Receiver and her team have charged reasonable
       fees and expenses for their important work on behalf of the
       Estate. The Applications are therefore approved in their en‐
       tirety, for a total of $214,815.03.
       Finally, the victims of this Ponzi scheme should know that the
       delay in considering these requests was due to staffing
       changes within my chambers and not the requests them‐
       selves. The Receiver continues to represent the Estate’s inter‐
       ests zealously and efficiently.
       SO ORDERED, this the 19th day of May, 2020.
                                               s/ CARLTON W. REEVES
                                            United States District Judge




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